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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 19-cr-00098-CMA-1

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.     LEONARD LUTON,

     Defendant.
_____________________________________________________________________

              UNITED STATES’ MOTION FOR FINAL ORDER OF
                 FORFEITURE FOR A SUBSTITUTE ASSET
______________________________________________________________________

       COMES NOW the United States of America (“United States”), by and through

United States Attorney Cole Finegan and Assistant United States Attorney Elizabeth

Young, pursuant to 21 U.S.C. § 853(p) and Fed. R. Crim. P. 32.2(e), and respectfully

requests that this Court enter a Final Order of Forfeiture for a Substitute Asset,

specifically, a 2008 Honda CR-V bearing VIN: 5J6RE48738L047092, which was seized

from defendant Leonard Luton on January 22, 2019, in Estes Park, Colorado (“2008

Honda CR-V”). In support, the United States submits the following:

       1.      On July 10, 2019, the grand jury charged defendant Leonard Luton by

Superseding Indictment with: Conspiracy to Commit Mail Fraud in Count One, in

violation of 18 U.S.C. § 1349, and Aiding and Abetting Mail Fraud in Counts Two

through Ten, in violation of 18 U.S.C. §§ 1341 and 2. (Doc. 45 at 1-4).

       2.      The Superseding Indictment also provided the defendant with notice that

the United States would seek forfeiture, pursuant to 18 U.S.C. § 1981(a)(1)(C) and 28



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U.S.C. § 2461(c), of any and all of the defendant’s right, title, and interest in all property

constituting and derived from any proceeds obtained directly and indirectly as a result of

the scheme, including but not limited to, a personal money judgment in the amount of

proceeds obtained as a result of the offenses charged in Counts One through Ten.

(Doc. 45 at 5-6). The Superseding Indictment also provided the defendant with notice

that the United States would seek forfeiture of other property as a substitute asset

pursuant to 21 U.S.C. § 853(p). (Doc. 45 at 5-6).

       3.     On February 13, 2020, a jury found defendant Leonard Luton guilty of

Counts One through Three and Counts Five through Ten, in violation of 18 U.S.C. §§

1349, 1341, and 2. (Doc. 105).

       4.     On August 10, 2021, defendant Leonard Luton was sentenced. His

sentence included a personal money judgment in the amount of $484,123.16 and he

was ordered to pay restitution to victims in the amount of $884,947.41. (Doc. 151).

       5.      On October 4, 2021, the Court entered the Preliminary Order of Forfeiture

against defendant Leonard Luton, forfeiting his interest in a substitute asset, the 2008

Honda CR-V. (Doc. 161).

       6.     Federal Rule of Criminal Procedure 32.2(b)(6)(A) requires that the

government send notice to “any person who reasonably appears to be a potential

claimant with standing to contest the forfeiture in the ancillary proceeding.” In this case,

the only known potentially interested parties are the defendant who received direct

notice of the forfeiture of the vehicle through this criminal proceeding and Zavion Miller

who was provided direct notice as reflected by the Notice of Preliminary Order of

Forfeiture filed on December 29, 2021 (Doc. 180 at 4).



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       7.     In addition, the United States published notice of the forfeiture via an

official government internet website for thirty consecutive days, from June 29, 2022

through July 28, 2022, consistent with Fed. R. Crim. P. 32.2(b)(6)(C). Pursuant to 21

U.S.C. § 853(n)(2), the deadline for any interested party who received notice of the

forfeiture through the website to file a claim in this action asserting an interest in the

2008 Honda CR-V was August 29, 2022.

       8.     To date no third party has filed a Petition for Ancillary Hearing regarding

the 2008 Honda CR-V that the United States seeks to forfeit in this case, and the

deadline to do so has elapsed.

       Accordingly, the United States respectfully requests that this Court enter the

Final Order of Forfeiture for Substitute Asset tendered herewith in accordance with 21

U.S.C. § 853(p) and Fed. R. Crim. P. 32.2(e), forfeiting to the United States the 2008

Honda CR-V, the proceeds from which substitute asset will be applied to defendant

Luton’s Forfeiture Money Judgment. 1

       DATED this 14th day of September 2022.

                                                    Respectfully submitted,

                                                    COLE FINEGAN
                                                    United States Attorney

                                            By:     s/ Elizabeth Young
                                                    Elizabeth Young
                                                    Assistant United States Attorney
                                                    U.S. Attorney’s Office
                                                    1801 California Street, Suite 1600
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                                                    Attorney for the United States

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 The United States will also seek to have the proceeds from the sale of the substitute asset
applied to the restitution order and returned to the victims in this case.
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 14th day of September, 2022, I electronically filed the
foregoing with the Clerk of Court using the ECF system which, will send notice to all
counsel of record.

                                                  s/ Jason Haddock
                                                  FSA Paralegal
                                                  U.S. Attorney’s Office




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